Case 24-50259   Doc 39   Filed 11/25/24 Entered 11/25/24 14:37:40   Desc Main
                          Document     Page 1 of 11
Case 24-50259   Doc 39       Filed 11/25/24 Entered 11/25/24 14:37:40   Desc Main
                              Document     Page 2 of 11




                   Julio De La Cruz (Nov 25, 2024 11:29 EST)

                                            Julio De La Cruz
        Case 24-50259              Doc 39      Filed 11/25/24 Entered 11/25/24 14:37:40    Desc Main
                                                Document     Page 3 of 11

reaff - cover sheet - United Bank
Final Audit Report                                                            2024-11-25

  Created:                2024-11-21

  By:                     Sheila Sparks (support@flippinlaw.com)

  Status:                 Signed

  Transaction ID:         CBJCHBCAABAAdnrMkYktNp5IORPKeYQrEtTU2guxMIHB




"reaff - cover sheet - United Bank" History
    Document created by Sheila Sparks (support@flippinlaw.com)
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    2024-11-25 - 4:29:08 PM GMT
Case 24-50259   Doc 39   Filed 11/25/24 Entered 11/25/24 14:37:40   Desc Main
                          Document     Page 4 of 11
Case 24-50259   Doc 39   Filed 11/25/24 Entered 11/25/24 14:37:40   Desc Main
                          Document     Page 5 of 11
Case 24-50259    Doc 39    Filed 11/25/24 Entered 11/25/24 14:37:40   Desc Main
                            Document     Page 6 of 11




                                                                11,365.00


                                                                10,819.86

                                                                 545.14

                                                                  598.25




 The Debtors will reduce their budget to afford this payment.
 Case 24-50259   Doc 39   Filed 11/25/24 Entered 11/25/24 14:37:40                             Desc Main
                           Document     Page 7 of 11




09.18.2024                Julio De La Cruz (Nov 20, 2024 12:09 EST)

                                                                      Julio De La Cruz




                                                           The Debtors will reduce their budget to afford this payment.



09.18.2024

                                                    Thomas C. Flippin
Case 24-50259   Doc 39   Filed 11/25/24 Entered 11/25/24 14:37:40   Desc Main
                          Document     Page 8 of 11
Case 24-50259   Doc 39   Filed 11/25/24 Entered 11/25/24 14:37:40   Desc Main
                          Document     Page 9 of 11
Case 24-50259   Doc 39   Filed 11/25/24 Entered 11/25/24 14:37:40   Desc Main
                         Document      Page 10 of 11
        Case 24-50259              Doc 39      Filed 11/25/24 Entered 11/25/24 14:37:40    Desc Main
                                               Document      Page 11 of 11

reaffirmation agreement - United Bank-2022
Honda Accord - not signed
Final Audit Report                                                            2024-11-20

  Created:                2024-11-20

  By:                     Sheila Sparks (support@flippinlaw.com)

  Status:                 Signed

  Transaction ID:         CBJCHBCAABAAxsYNEfpU5x9mjT4FqB9hH3Oo1CG0LlNC




"reaffirmation agreement - United Bank-2022 Honda Accord - no
t signed" History
    Document created by Sheila Sparks (support@flippinlaw.com)
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    Document e-signed by Thomas C Flippin (tom@flippinlaw.com)
    Signature Date: 2024-11-20 - 8:03:20 PM GMT - Time Source: server


    Agreement completed.
    2024-11-20 - 8:03:20 PM GMT
